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                             UNITED STATES OF AMERICA
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff(s),

v.                                                           Case No. 2:14-cr-16-06

DAVID ANTHONY TRISTAN,                                       HON. ROBERT HOLMES BELL

               Defendant(s).
                                             /


                                    ORDER OF DETENTION

               Defendant appeared before the undersigned on March 2, 2015, for a detention

hearing. Proffers were made to the court by counsel for the government and defendant. For the

reasons stated on the record, the court grants the government's motion for detention and orders

that the defendant remain detained pending further proceedings.

               Therefore, IT IS HEREBY ORDERED that the defendant shall be committed to

the custody of the Attorney General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the government, the person in charge of the corrections

facility shall deliver the defendant to the United States Marshal for the purpose of an appearance

in connection with a court proceeding.

               IT IS SO ORDERED.

                                              /s/ Timothy P. Greeley
                                              TIMOTHY P. GREELEY
                                              UNITED STATES MAGISTRATE JUDGE
Dated: March 3, 2015
